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UNITED STATES DISTRICT COURT FOR THE
WESTERN DISTRICT OF PENNSYLVANIA

BESSEMER SYSTEM FEDERAL CREDIT )
UNION,

Plaintiff, Case No.
(Removed from Pennsylvania Court of

Common Pleas, Mercer County, Civil
Division Case No. 2018-01130)

VS.

FISERV SOLUTIONS, LLC, FISERV
SOLUTIONS, INC., and FISERV, INC.,

Nee ee ee ee ee ee es 8

Defendants.

DECLARATION OF PAUL TETI
IN SUPPORT OF NOTICE OF REMOVAL
I, Paul Teti, hereby state as follows under penalty of perjury pursuant to 28 U.S.C.
§ 1746:

1. I am over 18 years of age, an adult resident of Connecticut and am competent to
testify as to all matters set forth in this Declaration.

2, I am a finance and billing director for Fiserv Solutions, LLC. In the course of
performing my job responsibilities, I am familiar with the business of Fiserv Solutions, LLC and
Fiserv, Inc., and I am familiar with Fiserv Solutions, LLC’s business relationship with Bessemer
System Federal Credit Union. I submit this declaration in support of Defendants’ Notice of
Removal.

3. Before March 31, 2015, Fiserv Solutions, Inc. was a corporation organized under
the laws of the State of Wisconsin that maintained its principal place of business at 255 Fiserv

Drive, Brookfield, Wisconsin.

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4, Effective March 31, 2015, Fiserv Solutions, Inc. underwent a business entity
change and became Fiserv Solutions, LLC, a Wisconsin limited liability company.

5. Fiserv Solutions, LLC was at the commencement of this action, and is now, a
limited liability company organized and existing under the laws of the State of Wisconsin that
maintains its principal place of business at 255 Fiserv Drive, Brookfield, Wisconsin.

6. The sole member of Fiserv Solutions, LLC is Fiserv, Inc., which was at the
commencement of this action, and is now, a corporation organized under the laws of the State of
Wisconsin that maintains its principal place of business at 255 Fiserv Drive, Brookfield,
Wisconsin.

bs From August 1, 2016 through December 31, 2016, Fiserv Solutions, LLC issued
invoices to Bessemer in an aggregate amount of not less than $65,648.95,

8. From January 1, 2017 through December 31, 2017, Fiserv Solutions, LLC issued
invoices to Bessemer in an aggregate amount of not less than $ 157,916.71.

9, From January 1, 2018 through December 31, 2018, Fiserv Solutions, LLC issued
invoices to Bessemer in an aggregate amount of not less than $156,910.41.

10. From January 1, 2019 through April 26, 2019, Fiserv Solutions, LLC issued
invoices to Bessemer in an aggregate amount of not less than $81 3772:

] declare under the penalty of perjury under the laws of the United States that the

foregoing is true and correct.

Dated: MayQ8 , 2019

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Paul Teti

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